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                IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF ALABAMA
                         SOUTHERN DIVISION

  JP MORGAN CHASE BANK, N.A.,                )
                                             )
        Plaintiff,                           )
                                             )
  v.                                         )    Civil Action No. 11-00126-CG
                                             )
  AIG BAKER ORANGE BEACH                     )
  WHARF, L.L.C.,                             )
                                             )
        Defendant.                           )


                                      ORDER

         This matter is before the court on the motion of the Receiver to

   discharge him and to close the receivership. (Doc. 34).

         Having considered the motion and the premises therefor, the motion is

   GRANTED. Receiver Gregory T. Maloney as Receiver for the property of

   AIG Baker Orange Beach Wharf, L.L.C., is hereby discharged as receiver and

   this receivership is closed.

         DONE and ORDERED this 17th day of January, 2012.


                                              /s/ Callie V. S. Granade
                                              UNITED STATES DISTRICT JUDGE
